
371 U.S. 541 (1963)
DITSON
v.
CALIFORNIA.
No. 729, Misc.
Supreme Court of United States.
Decided January 14, 1963.
ON PETITION FOR WRIT OF CERTIORARI TO THE SUPREME COURT OF CALIFORNIA.
Hugh R. Manes for petitioner.
PER CURIAM.
The motion for leave to proceed in forma pauperis and the petition for writ of certiorari are granted. In view of the suggestion of mootness by reason of the execution of the petitioner, the judgment of the Supreme Court of California is vacated and the cause is remanded for such proceedings as that court may deem appropriate.
[NOTE: Upon petition by the State for rehearing or clarification, the above opinion was withdrawn and, upon the prior suggestion of mootness, the petition for writ of certiorari was dismissed. 372 U. S. 933.]
